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UNITED STATES BANKRUPTCY COURT
DISTRICT OF DELAWARE


  In re:                                                  Chapter 11

  FTX TRADING LTD., et al.,                               No. 22-11068 (JTD)

                         Debtors                          (Jointly Administered)


                TRANSFER OF CLAIM OTHER THAN FOR SECURITY

       A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a).
Transferee hereby gives evidence and notice pursuant to Rule 3001(e)(1) of the Federal Rules of Bankruptcy
Procedure of the transfer, other than for security, of the claim referenced in this evidence and notice.

 Name of Transferor:                                Name of Transferee:

 Name (Redacted)                                    SP Multi Claims Holdings, LLC

 Name and Current Address of                        Name and Address where notices and payments to
 Transferor:                                        transferee should be sent:
 Name (Redacted)                                    SP Multi Claims Holdings, LLC
                                                    Attn: Operations
                                                    Email: rbeacher@pryorcashman.com
                                                    2 Greenwich Plaza, Suite 1
                                                    Greenwich, CT 06830

  Claim No./Schedule        Creditor Name                Amount                  Debtor             Case No.
 Schedule No. 5873823       Name (Redacted)          as described on         FTX Trading Ltd.       22-11068
                                                         Register
                                                        (attached)
  Confirmation ID No.       Name (Redacted)           Unliquidated           FTX Trading Ltd.       22-11068
  3265-70-OWCMO-                                    (stated in crypto)
      483603136
  Customer Code No.         Name (Redacted)         as described on          FTX Trading Ltd.       22-11068
       00989090                                       Schedule F
                                                       (attached)

I declare under penalty of perjury that the information provided in this notice is true and correct to the
best of my knowledge and belief.


By: _____________________                                                Date: September 11, 2024
Transferee/Transferee’s Agent
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                                           Identity of Transferor


Transferee has in its possession an Evidence of Transfer signed by the Transferor.

In order to protect the identity of the Transferor, Transferee has not disclosed the Transferor’s name or
address, and has not attached the signed Evidence of Transfer to this notice of Transfer of Claim.

Upon written request, Transferee is prepared to provide a copy of the signed Evidence of Transfer to the
Bankruptcy Court, the Debtors, and appropriate professionals.
